                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:04cr213


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                  ORDER
                                         )
ANTONIO O’NEILL BENNETT (2)              )
________________________________________ )



       THIS MATTER is before the Court upon motion of the defendant for a reduction of

sentence based on retroactive amendments to the United States Sentencing Guidelines relating to

crack cocaine offenses (Doc. No. 99), and the government’s response (Doc. No. 104).

       The defendant pled guilty to possessing at least 50 but fewer than 150 grams of cocaine

base with intent to distribute. (Doc. No. 80: Judgment at 1; Doc. No. 24: Plea Agreement at 1-2).

The resulting offense level of 32 was reduced by 3 for accepting responsibility. (Presentence

Report (PSR) at ¶¶ 20, 27, 28). Combined with a criminal history category of V, the resulting

advisory guideline range was 140-175 months. (Doc. No. 81: SOR at 1). The Court sentenced the

defendant to 140 months’ imprisonment, the low end of the range. (Doc. No. 80: Judgment at 1).

       The defendant moves to reduce his sentence based on retroactive amendments to the

guidelines relating to crack cocaine offenses. (Doc. No. 99). As amended, USSG §1B1.10(b)(1)

directs courts to determine the guideline range as if the amendments had been in place at the time

of sentencing. The amended offense level for possessing at least 50 but fewer than 150 grams of

cocaine base is 30. USSG Supp. to Appx. C., Amend. 706 (2007). The subtraction of 3 levels for

acceptance of responsibility, results in a total offense level of 27. The amended guideline range,



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given a criminal history category of V, is 120-150 months. The defendant and the government

recommend imposing a 120-month sentence, the low end of the amended range. (Doc. No. 99:

Motion at 5; Doc. No. 104: Response at ¶ 9).

       Consistent with 18 U.S.C. § 3582(c)(2), the Court has considered the factors set forth in

18 U.S.C. § 3553(a), as well as the defendant’s post-sentence conduct and the public’s safety.

Based on these factors, the Court finds that a reduction of the defendant’s sentence would

accomplish the goals of sentencing.

       IT IS, THEREFORE, ORDERED that the defendant’s motion is GRANTED and the

defendant’s sentence is reduced to 120 months’ imprisonment on Count Two.

       IT IS FURTHER ORDERED that, that upon release from imprisonment, and absent a

residential plan accepted by the U.S. Probation Officer prior to release from incarceration, as a

condition of supervised release the defendant shall submit to the local Residential Reentry Center

for a period not to exceed 90 days, with work release, at the direction of the U.S. Probation

Officer. All other terms and conditions previously imposed remain unchanged.

       The Clerk is directed to certify copies of this Order to the defendant, counsel for the

defendant, the Community Defender, the United States Attorney, the United States Marshals

Service, and the United States Probation Office.

                                                   Signed: October 9, 2009




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